
Active Care Medical Supply Corp., as Assignee of Davila, Ignacio, Appellant,
againstAmerican Transit Ins. Co., Respondent.




The Rybak Firm, PLLC (Damin J. Toell of counsel), for appellant.
Law Offices of Daniel J. Tucker, for respondent (no brief filed).

Appeal from an order of the Civil Court of the City of New York, Kings County (Richard Montelione, J.), entered December 9, 2015. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which granted defendant's motion for summary judgment dismissing the complaint on the ground that plaintiff had failed to appear for duly scheduled examinations under oath.
For the reasons stated in Greenway Med. Supply Corp. v American Tr. Ins. Co. (58 Misc 3d 144[A], 2017 NY Slip Op 51901[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2017]), the order is affirmed.
PESCE, P.J., ALIOTTA and ELLIOT, JJ., concur. 
ENTER:Paul KennyChief ClerkDecision Date: May 25, 2018










